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    8                         UNITED STATES DISTRICT COURT
    9                        CENTRAL DISTRICT OF CALIFORNIA
   10

   11    MIURA CORPORATION, DBA                  No. 2:20-cv-05497--SVW-ADS
         SASABUNE BEVERLY HILLS
   12    AND NARGIZA LUTZ,
   13                    Plaintiffs,             PLAINTIFFS’ REPLY TO
                                                 DEFENDANT’S OPPOSITION
   14          v.
                                                 [Filed concurrently with Declaration of
   15    MUNTU DAVIS, M.D., M.P.H., IN           Christian Kernkamp; Request for
         HIS OFFICIAL CAPACITY AS                Judicial Notice; and Responses to
   16    HEALTH OFFICER FOR THE                  Objections to Evidence]
         COUNTY OF LOS ANGELES,
   17                                            Assigned to Hon. Stephen V. Wilson
                         Defendant.              And Magistrate Judge Autumn D. Spaeth
   18                                            Trial: None Set.
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    1                                    INTRODUCTION
    2         Defendant has doubled down on its theory that the data collection provisions
    3   appearing in the Order are fully justified. This theory is not very convincing in light
    4   of the fact that Defendant has largely failed to address critical facts brought forth by
    5   Plaintiffs, such as the low mortality rate and key distinguishing factors between this
    6   case and Defendant’s own selection of recent COVID-19 related cases.
    7         Rather than address and fully respond to Plaintiffs’ evidence, Defendant
    8   attempts to convince this Court to not consider most of it by way of a laundry list of
    9   evidentiary objections. This is also not convincing because Plaintiffs’ have met the
   10   less stringent evidentiary standards that apply during proceedings occurring in the
   11   early stages of litigation, including motions for preliminary injunctions.
   12         In asking this Court to apply a presumption of constitutionality to the data
   13   collection provisions Plaintiffs have challenged, Defendant interprets and applies
   14   Jacobson as if it gives an acting health officer a constitutional right to issue open
   15   ended health orders rather than the limited exception it is. When Defendant does
   16   address the merits of Plaintiffs’ claims, it overstates both the showing that Plaintiffs
   17   must make and the likelihood that Defendant would suffer any harm from the very
   18   narrowly tailored preliminary injunction they are seeking.
   19                                       ARGUMENT
   20      A. Plaintiffs’ Evidence is Sufficient at This Early Stage of the Litigation
   21         The County attempts to dismiss Plaintiffs’ evidence as if it is being submitted
   22   at a trial on the merits. Defendant’s cite Straumann USA, LLC v. TruAbutment Inc.,
   23   No. 8:19-cv-00878-JLS-DFM, 2019 WL 6887172, at *1 n.2 (C.D. Cal. Oct. 1, 2019).
   24   The very Note 2 that Defendant references, states that a court “may relax the
   25   evidentiary standards and has the discretion to give inadmissible evidence some
   26   weight for preliminary injunction proceedings […]. (internal quotations omitted.)
   27         The Supreme Court has long recognized that a preliminary injunction serves a
   28   limited purpose of preserving the status quo until a trial on the merits may be had.

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    1   Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981). For this reason, a […]
    2   preliminary injunction is customarily granted on the basis of procedures that are less
    3   formal and evidence that is less complete than in a trial on the merits.” Id. A party is
    4   not required to prove his case in full at the preliminary injunction stage and a court’s
    5   factual and legal findings are not binding on a later trial on the merits. Id. Under this
    6   relaxed evidentiary standard, it is appropriate for a court to consider even hearsay
    7   evidence. Flynt Distributing Co., Inc. v. Harvey, 734 F.2d 1389, 1394 (9th Cir. 1984).
    8              The law applies a far more lenient evidentiary standard at this early stage of
    9   litigation. Plaintiffs’ counsel has authenticated the results of Plaintiffs’ surveys. At
   10   this early stage of the litigation, Plaintiffs’ evidence is admissible and sufficient to
   11   make their case. 1
   12          B. Defendant Fails to Refute Plaintiffs’ Contention That Jacobson Does Not
   13              Require This Court to Apply a Presumption of Constitutionality to The
   14              County’s Order
   15              Defendant describes Jacobson as creating a “rule of law”. (Defendant’s
   16   Opposition, pg. 12.) This mischaracterization of Jacobson as some large carve out to
   17   fundamental rights would be a true case of the exception swallowing the constitution
   18   itself. Jacobson is more accurately described as a narrow finding that constitutional
   19   protections were not absolute in the face of a catastrophic health crisis causing the
   20   deaths of tens of millions of people with children most at risk.
   21              For Jacobson to apply there must be a sufficiently severe health crisis
   22   underway. Defendant claims that new cases, testing positivity rates, and
   23   hospitalizations have significantly increased. (Defendant’s Opposition, pg. 9).
   24   Defendant further claims that hospitals are at risk of being overwhelmed. (Id., 9-10).
   25   While it is true that confirmed cases continue to rise as an extraordinary number of
   26   tests are conducted each day, the County’s own data does not appear to show that
   27   hospitals are at significant risk of being overwhelmed. (See Exhibit 9 to Plaintiffs’
   28   1
            See also Plaintiffs’ Responses to Defendant’s Evidentiary Objections.


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    1   Request for Judicial Notice.) In fact, the County appears to be in a very stable
    2   position, including a large inventory of personal protective equipment, plenty of
    3   available beds, and ventilators. (Id.) The County has met its target in daily number
    4   of average deaths, available ICU beds, ventilator capacity, N95 masks, eye
    5   protection, face shields, gloves, gowns, daily COVID-19 diagnostic tests, and
    6   percentage of COVID-19 cases that have follow-up investigation initiated within 1
    7   day of assignment. (See Exhibit 10 to Plaintiffs’ Request for Judicial Notice.) This
    8   certainly was not where we were in March and April when the virus peaked.
    9         Notably, Defendant does not address the most important question, which is the
   10   number of deaths, which as Plaintiffs pointed out in their moving papers, appears to
   11   have taken a clear downward trend. Overall, Defendant does not comment on the
   12   voluminous evidence Plaintiffs put forth to properly frame the current state of the
   13   health crisis, including death trends, no excess death in thirty states, very low
   14   infection fatality rate, a return to the seasonal baseline in pneumonia, influenza and
   15   COVID-19 mortality, and a larger spike in excess deaths in California just two years
   16   ago. In light of the foregoing, it has become increasingly hard to accept Defendant’s
   17   continued reliance on a severe health crisis justification for the sweeping and
   18   indefinite data collection provisions appearing in the health order.
   19         In similar fashion, Defendant dismisses Plaintiffs’ entire discussion and
   20   analysis of recent cases that also involve challenges to government action during the
   21   coronavirus. Defendant only mentions these important cases in the footnotes of their
   22   brief. (See Defendant’s Opposition, pg. 15.) Defendant takes the position that Yandel
   23   v. City of Racine is dissimilar because there, the vagueness arose from the health
   24   order incorporated by reference 180 pages of COVID-19 best practices while the data
   25   collection provisions in the County’s order are self-contained. (Id.) However, as
   26   Plaintiffs point out in their moving papers, the health order in Yandel was deemed
   27   vague because of its use of the phrase “the standards therein” when referring to CDC
   28   and other best practices. This is similar to Defendant’s use of confusing and

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    1   contradictory phrases in the data collection provisions of the order such as
    2   “practicable,” “is offered,” “must be maintained” and “to the extent possible.”
    3   Plaintiffs’ surveys and supporting declarations do show that there are serious issues
    4   of confusion here.
    5         Defendant dismisses Bailey v. Pritzker as inapplicable because “Plaintiffs
    6   cannot make any argument that the Order is not authorized under Dr. Davis’ statutory
    7   powers […].” (Id.) Defendant also dismisses Quarles v. Beshear because it “does not
    8   speak to any of the issues involved in this Motion.” (Id.) But Defendant ignores the
    9   very reason Plaintiffs referred to these cases, which is that the cases also dealt with
   10   the exercise of emergency powers in an essentially open ended and indefinite manner.
   11   Furthermore, the plaintiffs in some of these cases sought much broader injunctive
   12   relief at the peak of the pandemic.
   13         Defendant does not address, in any meaningful way, Plaintiffs’ position that
   14   the recent cases, cited by Defendant, applying Jacobson are distinguishable from the
   15   instant matter. Unlike the health orders in these cases, the County’s health order is
   16   vague and indefinite in nature. Furthermore, Plaintiffs are seeking very narrow relief
   17   that presents no harm whatsoever to Defendant or the citizens of the County of Los
   18   Angeles.
   19      C. Defendant Fails to Present a Compelling Reason Why Plaintiff Lutz Does
   20         Not Retain a Privacy Interest in Her Data Under Carpenter v. United States
   21         Defendant argues that Carpenter does not apply to Plaintiff Lutz because in
   22   this case “there is not a comprehensive record of a person’s movements continuously
   23   and automatically compiled and maintained at a single source.” (Defendant’s
   24   Opposition, pg. 18.) However, Carpenter was a decision in recognition of a person’s
   25   right to be free from arbitrary invasions by government officials. Carpenter v. United
   26   States, 138 S. Ct. 2206, 2213 (2018). The case addressed the issue of how to apply
   27   the Fourth Amendment to “[…] a new phenomenon: the ability to chronicle a person's
   28   past movements through the record of his cell phone signals.” Id. at 2210. The

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    1   Supreme Court ultimately found it reasonable to apply Fourth Amendment
    2   protections to cell phone signal records because not doing so would contravene
    3   reasonable expectations of privacy. Id. The Court itself noted that CSLI presented an
    4   even greater danger than the GPS tracking challenged in Jones. Id. citing to United
    5   States v. Jones, 565 U.S. 400 (2012). Also consider that, in Kylo, the Supreme Court
    6   noted that “the rule we adopt must take account of more sophisticated systems that
    7   are already in use or in development.” Kylo v. United States, 533 U.S. 27, 36 (2001).
    8         The location record that is developed for each individual under the County’s
    9   health order is quite similar to the GPS tracking or CSLI location records under
   10   consideration in Jones and Carpenter. Contrary to Defendant’s claim, the health
   11   order does create a comprehensive record of a person’s movements throughout the
   12   County. That record is held indefinitely, unsecured, and readily available for arbitrary
   13   invasion by the government.
   14      D. Plaintiff Lutz Has Presented Sufficient Evidence That Her Constitutional
   15         Rights of Association Are Burdened
   16         Defendant takes the position that Plaintiff Lutz has failed to present any
   17   evidence that her constitutional rights are burdened by the County’s health order.
   18   However, government action that may curtail the freedom to associate is subject to
   19   the closest scrutiny. N.A.A.C.P. v. Alabama, 357 U.S. 449, 460-61 (1958). Plaintiff
   20   Lutz’ claim is not addressing a heavy-handed frontal attack on her constitutional
   21   rights but the more subtle governmental interference that is also forbidden. See Bates
   22   v. Little Rock, 361 U.S. 516, 522 (1960).
   23         “A law may be invalidated as overbroad if a substantial number of its
   24   applications are unconstitutional, judged in relation to the statute's plainly legitimate
   25   sweep.” United States v. Stevens, 559 U.S. 460, 474 (2010) (internal quotations
   26   omitted); see also Washington State Grange v. Washington State Republican Party,
   27   552 U.S. 442, 449, n. 6 (2008) (“Our cases recognize a second type of facial challenge
   28   in the First Amendment context under which a law may be overturned as

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    1   impermissibly overbroad because a substantial number of its applications are
    2   unconstitutional, judged in relation to the statute's plainly legitimate sweep.” (internal
    3   quotations omitted).
    4         Here, the governmental purpose of contact tracing can easily be achieved
    5   through a more narrowly tailored approach. Plaintiffs have already suggested that the
    6   County simply amend the health order so that it is clear and consistent with the
    7   position the County has taken in this case. Plaintiffs have already pointed out
    8   numerous ways these poorly written data collection provisions can lead to
    9   unconstitutional applications. As it stands under the County’s health order, the data
   10   collection is indefinite, the data retention is indefinite, and the potential for abuse of
   11   that data, whether by government or third parties, are without any limit. Plaintiffs
   12   have put forth evidence in the form of declarations, survey results, and other data
   13   showing that the data collection provisions are vague enough that they are likely to
   14   be misinterpreted and subject to a substantial number of unconstitutional
   15   applications. That is a sufficient showing to demonstrate a probability of prevailing.
   16      E. Plaintiff Sasabune Has a Constitutionally Protected Due Process Right to
   17         Fair Notice
   18         Defendant’s claim that the Order implicates no constitutionally protected
   19   conduct is not correct. An important component of due process protections is the right
   20   to fair notice and to be free of vague laws imposing criminal liability. Lambert v.
   21   California, 355 U.S. 225, 228 (1957); U.S. Const., 5th Amend.
   22         Defendant cites to Vill. of Hoffman Estates v. Flipside, Hoffman Estates, Inc.
   23   and makes the point that economic and health related regulations are subject to a less
   24   strict vagueness test. 455 U.S. 489, 498 (1982). However, Defendant is incorrect that
   25   the Order only applies to businesses. It applies to virtually all activity within the
   26   County involving persons, from non-profit organizations and places of worship, to
   27   public museums and any office building. The Order is comprehensive. It is true that
   28   general commercial regulations may, at times, be afforded greater leniency but that

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    1   is because they usually carry civil and not criminal penalties and because businesses
    2   typically have the opportunity to consult legislation in advance. Id. at 498-99.
    3           It is also true that a scienter requirement may mitigate a laws vagueness with
    4   respect to considerations of fair notice. Id. Here, however, we are dealing with an
    5   emergency order that is constantly amended and carries with it not just civil but also
    6   criminal penalties. There is no scienter requirement. Even a straightforward public
    7   health law—which this is not due to its incredible scope and immediate
    8   implementation—must, at a minimum, allow a person to discover its meaning
    9   through context or resorting to an administrative process. Id. at 498. There is no
   10   administrative process to resort to here. Many of the appendices in the Order do not
   11   even use the phrase “contact tracing”. There are no minimal guidelines for
   12   enforcement officers to follow.
   13           Defendant’s position that Plaintiff Sasabune’s concern is unfounded because
   14   the restaurant accepts reservations through OpenTable is unfounded. Making a
   15   reservation on OpenTable is clearly a voluntary act. OpenTable has a comprehensive
   16   data storage and protection policy 2 and even allows restaurants to provide customers
   17   with legally mandated notices pursuant to California’s Consumer Protection Act. 3
   18   Plaintiff Sasabune is not subject to civil and criminal sanctions for the utilization of
   19   OpenTable.
   20       F. The Very Narrow Injunctive Relief Sought by Plaintiffs Would Not Harm
   21           Defendant
   22           Defendant contends that if this Court grants Plaintiffs’ request for injunctive
   23   relief they will no longer be able to conduct contact tracing throughout the County.
   24   That is simply not true. Plaintiffs seek a very narrow injunction preventing the
   25   enforcement of these vague data collection provisions appearing in the Order. If
   26   granted, the County can easily amend the Order as it has done many times so that
   27   2
         OpenTable Privacy Policy, https://www.opentable.com/legal/privacy-policy
        3
         GDPR/CCPA Notification Opt-Ins in OpenTable, https://support.opentable.com/s/article/GDPR-
   28   FAQ?language=en_US


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    1   these provisions are clear and lawful. Plaintiffs suggest the Court give the County a
    2   reasonable time to make these necessary changes so that there is no disruption in
    3   contact tracing efforts.
    4                                     CONCLUSION
    5         In light of the foregoing arguments, Plaintiffs respectfully request this Court
    6   to issue a very narrow preliminary injunction preventing Defendant from enforcing
    7   the data collection provisions appearing in the Order through civil and criminal
    8   sanctions. The Court’s assistance in this matter is necessary as Plaintiffs have tried
    9   but failed to achieve this outcome through negotiation based on Defendant’s assertion
   10   that the contact tracing program is voluntary.
   11

   12

   13   Dated: July 27, 2020                          /s/ Christian Kernkamp
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